Case 1:24-cv-03880-LDH-LKE Document 8-6 Filed 06/19/24 Page 1 of 2 PageID #: 272




           EXHIBIT # 5
 Case 1:24-cv-03880-LDH-LKE Document 8-6 Filed 06/19/24 Page 2 of 2 PageID #: 273


  From: We Serve Law LLC info@weservelaw.com
Subject: Re: New Serve - TBLACKBURN@TABLACKBURNLAW.COM
   Date: April 5, 2024 at 10:00 PM
     To: TBLACKBURN TBLACKBURN@tablackburnlaw.com

      Hello Tyrone,

      We are in receipt of the documents, 217 pages to be served on:

      UNITED PARCEL SERVICE GENERAL SERVICES CO.
      C/O CORPORATION SERVICE COMPANY
      80 STATE STREET
      ALBANY, NY 12207

      Here is a link to the invoice: https://www.paypal.com/invoice/p/#92WP7XHWH6E5424D
      As soon as it's paid we will dispatch for prompt service.

      We will update you upon completion of service and a copy of the notarized affidavit of service will be emailed and the original mailed
      to you.

      Any questions, please do not hesitate to ask.

      Thank you,

                               We Serve Law LLC
                               Nationwide Legal Services
                               p: 800-637-1805
                               w: weservelaw.com
                               e: info@weservelaw.com


      On Fri, Apr 5, 2024 at 9:53 PM TBLACKBURN <noreply@123formbuilder.com> wrote:
         Name                                          TYRONE ANTHONY BLACKBURN
         Email                                         TBLACKBURN@TABLACKBURNLAW.COM
         Service                                       Priority $100
         Name and Address of Person or                 UNITED PARCEL SERVICE GENERAL SERVICES CO.
         Entity to be Served                           C/O CORPORATION SERVICE COMPANY
                                                       80 STATE STREET
                                                       ALBANY, NY, 12207
         Special Instructions

         File Upload                                   https://app.123formbuilder.com/upload_dld.php?
                                                       fileid=d075f8c9975008d277bc73fde1ced2d0

        The message has been sent from 70.15.18.89 (United States) at 2024-04-05 21:53:04 on Chrome 123.0.0.0
        Entry ID: 15144




         Filed Case.              Daniel                 Filed                    Fari                  Daniel
       503173…T_1.pdf          Moyel-…T_1.pdf         Compl…T_1.pdf          Murray…T_1.pdf          Moyel-…T_1.pdf
